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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA


DR. DOROTHY NAIRNE, JARRETT                       Case No. 3:22-cv-00178-SDD-SDJ
LOFTON, REV. CLEE EARNEST LOWE,
DR. ALICE WASHINGTON, STEVEN
HARRIS, ALEXIS CALHOUN, BLACK                     Chief Judge Shelly D. Dick
VOTERS MATTER CAPACITY BUILDING
INSTITUTE, and THE LOUISIANA STATE
                                                  Magistrate Judge Scott D. Johnson
CONFERENCE OF THE NAACP,

            Plaintiffs,

v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana, et al.

            Defendants.



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          MOTION FOR EXPEDITED CONSIDERATION AND ACCELERATED
           BRIEFING SCHEDULE ON MOTION FOR CONTINUANCE AND
                   MODIFICATION OF SCHEDULING ORDER

       NOW INTO COURT, through undersigned counsel, comes Attorney General Jeff

Landry, Intervenor-Defendant herein, who has moved to continue the trial and modify the

Scheduling Order in the case R.Doc. 112 and in order to have the motion determined timely

respectfully moves for expedited consideration and acceleration of the briefing schedule on the

motion.

       Intervenor-Defendant further moves for expedited consideration and accelerated briefing

on Defendants’ Joint Motion for Continuance of the November 27, 2023, Trial Date (R.Doc. 107)

filed on July 12, 2023.




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       The Plaintiffs oppose both motions to continue the trial. Plaintiffs have indicated no

opposition to the request for expedited consideration and accelerated briefing.

               REASON FOR EXPEDITED CONSIDERATION AND BRIEFING

       While LR 7(f) provides 21 days for a response memorandum on motions, 28 USC § 1657

gives the Court authority to determine the order in which matters are heard and determined. The

district court cannot abuse the discretion granted under the statute, but where circumstances so

warrant, the court can modify the local rules for good cause. In this case, good cause exists to

expedite consideration and accelerate the briefing schedule for the referenced motions to continue

the trial in the Nairne case. The case is set for a 7 day trial on November 27, 2023. Another

redistricting case, Robinson/Galmon, challenging U.S. congressional districts has now been set for

a remedial hearing on an even shorter schedule for October 3-5, 2023. The result is a compressed

pretrial schedule in both matters in litigation that is regarded as complex litigation.

       The case involves out of state experts whose depositions and trial appearances must be

scheduled with the associated travel plans, etc. In the interim, witnesses must be identified and

interviewed. Asking lay witnesses to attend a trial a few days after the Thanksgiving Holiday is

an imposition that requires notice well in advance. If the trial is to be continued, making that

determination as soon as practicable is imperative such that expedited consideration of the motion

is warranted under the circumstances.

       The Attorney General suggests the following adjustment in the briefing schedule:

               Plaintiffs response to the motions due by July 31, 2023;

               Defendants’ and Intervenors’ reply, if any, due by August 4, 2023.


       WHEREFORE, the Attorney General prays that both the Intervenor-Defendant’s Motion

to Continue the November 27, 2023 Trial Date and for Modification of Scheduling Order (R.Doc.

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112) and the Defendants’ Joint Motion for Continuance of the November 27, 2023, Trial Date

(R.Doc. 107) be given expedited consideration and an accelerated briefing schedule be set.




                                            JEFF LANDRY
                                            ATTORNEY GENERAL

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                                             Counsel for Attorney General Jeff Landry


                                CERTIFICATE OF SERVICE

       I do hereby certify that, on this 19th day of July, 2023, the foregoing was electronically

filed with the Clerk of Court using the CM/ECF system, which gives notice of filing to all counsel

of record.

                                             /s/ Carey T. Jones_________________
                                             CAREY T. JONES




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